      Case 2:07-cr-20168-JWL         Document 1719        Filed 11/02/15      Page 1 of 5




                        IN THE UNITED STATES DISTRICT COURT
                                 DISTRICT OF KANSAS

United States of America,

                      Plaintiff,

v.                                                                 Case No. 07-20168-13-JWL


Harold Wallace,

                      Defendant.

                                   MEMORANDUM & ORDER

       In April 2009, Harold Wallace entered a plea of guilty to one count of conspiracy to

possess with intent to distribute cocaine and cocaine base and one count of attempted possession

with intent to distribute cocaine. Mr. Wallace’s presentence investigation report calculated a

base offense level of 32 under U.S.S.G. § 2D1.1;1 a two-level firearm enhancement; a three-

level enhancement based on Mr. Wallace’s role in the offense; and a two-level reduction for his

acceptance of responsibility. The court, then, ultimately determined that Mr. Wallace’s total

offense level was 35 and assigned a criminal history category of V. The resulting advisory

guideline range for imprisonment was 262 to 327 months. The court sentenced Mr. Wallace to a

sentence of 300 months.




1
 At Mr. Wallace’s sentencing hearing, the court attributed 13,190.63 kilograms of marijuana equivalent
to Mr. Wallace, yielding a base offense level of 36 under the guidelines at that time. The court adjusted
that level by subtracting two levels in accordance with Application Note 10(D) of U.S.S.G. § 2D1.1,
bringing the offense level to 34. But because the presentence report attributed quantities to Mr. Wallace
consistent with a base offense level of 32, and the government did not object to that calculation, the
court capped the base offense level at 32 despite the fact that the evidence at the sentencing hearing
established drug quantities sufficient to meet a higher base offense level.
      Case 2:07-cr-20168-JWL        Document 1719       Filed 11/02/15    Page 2 of 5




       This matter is before the court on Mr. Wallace’s motion for reduction of sentence

pursuant to 18 U.S.C. § 3582(c)(2) in which he asks the court to reduce his sentence based on

Amendment 782 to the United States Sentencing Guidelines which took effect on November 1,

2014 and lowers the base offense levels in the Drug Quantity Table. Under the amended

guidelines, Mr. Wallace’s total offense level is 33. With a criminal history category of V, his

amended guideline range is 210 months to 262 months imprisonment.               In his motion for

reduction, Mr. Wallace requests that the court resentence him in accordance with the

amendment, but he does not suggest a specific sentence. In a separate letter recently sent to the

court, however, Mr. Wallace requests a sentence of 210 months in light of the progress that he

has made while in the custody of the BOP, particularly over the last two years. The government

argues that Mr. Wallace is not eligible for a reduction and, to the extent that the court finds that

Mr. Wallace is eligible for a reduction, that a reduction is not warranted in any case.

       Following the Supreme Court’s decision in Dillon v. United States, 560 U.S. 817 (2010),

the Tenth Circuit has recognized that § 3582(c)(2) “prescribes a two-step inquiry for

determining whether a defendant is entitled to have his originally-imposed sentence reduced:

the first question, a matter of law, is whether a sentence reduction is even authorized; the second

question, a matter of discretion, is whether an authorized reduction is in fact warranted.” United

States v. White, 765 F.3d 1240, 1245 (10th Cir. 2014) (emphasis in original). In determining

whether a sentence is warranted, the district court must “consider the § 3553(a) sentencing

factors, including the nature, seriousness, and circumstances of the offense, the history and

characteristics of the defendant, the need to protect the public from further crimes of the



                                                 2
      Case 2:07-cr-20168-JWL        Document 1719      Filed 11/02/15    Page 3 of 5




defendant, and any threat to public safety.” United States v. Meridyth, 573 Fed. Appx. 791, 794

(10th Cir. 2014) (citations omitted).

       In its response to Mr. Wallace’s motion, the government contends that Mr. Wallace is not

eligible for a reduction because the 13,190.63 kilograms of marijuana equivalency yields a base

offense level of 34 under the amended guidelines and a total offense level of 37 (factoring in the

firearm and role-in-the-offense enhancements and the AOR reduction).2          According to the

government, even if the court caps the base offense level at 32 based on the government’s

failure to object to the drug quantities in the PSR, Mr. Wallace’s total offense level, at best,

remains a 35 such that the guidelines range remains unchanged for Mr. Wallace.                The

government’s argument, however, fails to convert the drug quantities attributable to Mr. Wallace

under the current drug equivalency tables, Mr. Wallace is responsible for 2,710.569 kilograms

of marijuana equivalent.3 Under the revised drug quantity table, this quantity corresponds to a

base offense level of 30. After factoring in the applicable enhancements and AOR reduction,

then, Mr. Wallace’s total offense level, as argued by Mr. Wallace, is 33. Coupled with a

criminal history score of V, Mr. Wallace’s amended guideline range is 210 months to 262

months.

       Having concluded that Mr. Wallace is eligible for a reduction, the court turns to whether

a reduction is warranted. The government contends that no reduction is warranted because of


2
 The parties agree that the 2-level reduction applied to Mr. Wallace under Application Note
10(D) has been eliminated and is no longer available to Mr. Wallace.
3
 At Mr. Wallace’s initial sentencing, the 637.9 grams of crack cocaine attributable to Mr.
Wallace converted to 12,758 kilograms of marijuana. Now, 637.9 grams of crack cocaine
converts to 2277.9409 kilograms of marijuana.
                                                3
      Case 2:07-cr-20168-JWL       Document 1719       Filed 11/02/15    Page 4 of 5




Mr. Wallace’s disciplinary record while in the custody of the Bureau of Prisons. The court

rejects this argument, as it has done in other cases. The court believes that Mr. Wallace’s post-

sentencing misconduct should not prevent him from receiving the adjustment to which he is

otherwise entitled. The Bureau of Prisons has adequate sanctions at its disposal to address Mr.

Wallace’s violations. Moreover, in resentencing eligible defendants under Amendment 782, the

court endeavors to determine what sentence a particular defendant should have received had the

revised drug tables been in effect at that time. That determination necessarily would not include

post-sentencing misconduct. Thus, absent any indication from the Tenth Circuit that the court

must or should take into account post-sentencing conduct (as opposed to recognizing that a court

has discretion to consider post-sentencing conduct), the court will continue to permit the BOP to

address a defendant’s post-sentencing misconduct rather than punishing a defendant for that

conduct in connection with resentencing under Amendment 782.

       For the foregoing reasons, the court concludes that a reduction is warranted and,

consistent with its practice, will resentence Mr. Wallace to the same point within the amended

range as it did in connection with Mr. Wallace’s original sentence. While Mr. Wallace has

written to the court requesting a low-end sentence, the court does not believe that a greater

reduction is warranted in light of this court’s approach to resentencing defendants under

Amendment 782; that is, to attempt to determine what sentence Mr. Wallace would have

received had the revised drug quantity tables been in effect at the time of Mr. Wallace’s original

sentencing. Thus, while the court commends Mr. Wallace for his efforts to rehabilitate himself,

the court declines to give Mr. Wallace a low-end sentence. Based on the court’s calculations, a

sentence of 240 months represents the same guideline point in the amended range as the court

                                                4
      Case 2:07-cr-20168-JWL       Document 1719       Filed 11/02/15   Page 5 of 5




utilized in calculating Mr. Wallace’s initial sentence of 300 months.4 For the foregoing reasons,

the court believes that a sentence of 240 months is appropriate.



       IT IS THEREFORE ORDERED BY THE COURT THAT Mr. Wallace’s motion for

reduction of sentence pursuant to 18 U.S.C. § 3582(c)(2) (doc. 1707) is granted as described

herein and Mr. Wallace’s sentence is reduced from 300 months to 240 months

imprisonment. All other provisions of the amended judgment dated March 16, 2010 shall

remain in effect.



       IT IS SO ORDERED.



       Dated this 2nd day of November, 2015, at Kansas City, Kansas.



                                                 s/ John W. Lungstrum
                                                 John W. Lungstrum
                                                 United States District Judge


.




4
 The court calculated 240 months by (1) calculating the number of months by which the original
sentence exceed the low-end of the guideline range; (2) dividing that number by the number of
months in the original guideline range; (3) multiplying the resulting percentage by the number of
months in the amended range; and (4) adding that number to the low end of the new range
                                                5
